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                         IN THEUNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION
SFA SYSTEMS, LLC

   v.                                                   6:08-CV-142-LED

NETSUITE, INC., et al.

                           ORDER OF DISMISSAL WITH PREJUDICE

        CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims and counterclaims asserted between plaintiff, SFA Systems, LLC, LLC,

and Defendants, CDC Corporation and CDC Software, Inc., in this case, and the Court being of

the opinion that said motion should be GRANTED, it is hereby

        ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in

this suit between plaintiff, SFA Systems, LLC, and Defendants, CDC Corporation and CDC

Software, Inc., are hereby dismissed with prejudice, subject to the terms of that certain

agreement entitled “SETTLEMENT AGREEMENT” and dated February 26, 2009.

        It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.

        So ORDERED and SIGNED this 2nd day of March, 2009.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE
